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                                                                             FILED
                                                                    CLERK, U.S. DISTRICT COURT


                                                                      January 29, 2024

                                                                  CENTRAL DISTRICT OF CALIFORNIA
                                                                       � · D. Lewman
                                                                    BY:_       =--- _� DEPUTY
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                                                           5:24-cv-00214-MWF (JPR)




                                           IFP Submitted
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